        Case 1:01-cv-12257-PBS Document 6582 Filed 10/07/09 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                           )   MDL No. 1456
In re: PHARMACEUTICAL INDUSTRY                             )   Master File No. 01-12257-PBS
AVERAGE WHOLESALE PRICE LITIGATION                         )   Subcategory Case No. 06-11337
                                                           )
                                                           )   Hon. Patti B. Saris
THIS DOCUMENT RELATES TO:                                  )
                                                           )
State of California ex rel. Ven-A-Care of the Florida      )
Keys, Inc. v. Abbott Labs, Inc. et al.,                    )
Civil Action No. 03-11226-PBS                              )
                                                           )

        DEFENDANTS UNOPPOSED MOTION FOR LEAVE TO FILE A REPLY
        BRIEF IN FURTHER SUPPORT OF THEIR MOTION FOR AN ORDER
            GRANTING LEAVE TO TAKE DEPOSITION OUT OF TIME

               Pursuant to Rule 7.1(b)(3) of the Local Rules for the District of Massachusetts,

Defendants Dey, Inc. Dey, L.P., Mylan Inc., and Mylan Pharmaceuticals Inc., on behalf of all

defendants in this action (collectively, “Defendants”), seek leave of Court to file a Reply

Memorandum of Law in Further Support of Defendants’ Motion for an Order Granting Leave to

Take Deposition Out of Time. Counsel for plaintiff the State of California have indicated that

California does not oppose Defendants’ request to file a reply memorandum of law. Defendants’

proposed Reply Brief is annexed hereto as Exhibit 1.

                                                Respectfully Submitted,

                                                 /s/Philip D. Robben
                                                    Philip D. Robben (pro hac vice)
                                                    Brendan Cyr (pro hac vice)
                                                KELLEY DRYE & WARREN LLP
                                                101 Park Avenue
                                                New York, New York 10178
                                                Telephone: (212) 808-7800

                                                Attorneys for Defendants Dey, Inc., Dey, L.P.,
                                                Mylan Inc. and Mylan Pharmaceuticals Inc.
        Case 1:01-cv-12257-PBS Document 6582 Filed 10/07/09 Page 2 of 2




                   CERTIFICATION PURSUANT TO LOCAL RULE 7.1

               I hereby certify that my associate, Brendan Cyr, conferred with Nicholas Paul,
Esq., counsel for the State of California, on October 7, 2009, and certify that Mr. Paul has
indicated to Mr. Cyr that California will not oppose Defendants’ request to file a reply
memorandum of law.

Dated: October 7, 2009

                                                       /s/ Philip Robben
                                                             Philip Robben



                                CERTIFICATE OF SERVICE

               I certify that a true and correct copy of the foregoing was delivered to all counsel
of record by electronic service pursuant to Paragraph 11 of Case Management Order No. 2, by
sending on October 7, 2009, a copy to LexisNexis File & Serve for posting and notification to all
parties.



                                                       /s/ Philip Robben
                                                             Philip Robben




                                               -2-
